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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


ROBERT S. GARNER, on behalf of
himself and all others similarly situated,

                Plaintiff,                                      C.A. No. 21-cv-665 (SB)

        v.

GLOBAL PLASMA SOLUTIONS INC.,

                 Defendant.

             JOINT STIPULATION AND [PROPOSED] PROTECTIVE ORDER

1.      PURPOSES AND LIMITATIONS

        Disclosure and discovery activity in this action are likely to involve production of

confidential, proprietary, or private information for which special protection from public disclosure

and from use for any purpose other than prosecuting this Litigation may be warranted.

Accordingly, the parties hereby stipulate to and petition the court to enter the following Stipulated

Protective Order. The parties acknowledge that this Order does not confer blanket protections on

all disclosures or responses to discovery and that the protection it affords from public disclosure

and use extends only to the limited information or items that are entitled to confidential treatment

under the applicable legal principles.

2.      DEFINITIONS

        2.1     Party: any party identified as such in this Litigation, including all of its officers,

directors, employees, members, consultants, representatives, retained experts, and Outside Counsel

of Record (and their support staffs).

        2.2     Non-Party: any natural person, partnership, company, organization, society,

corporation, association, or other legal entity not identified as a Party to this Litigation.

        2.3     Challenging Party: a Party or Non-Party that challenges the designation of

information or items under this Order.
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        2.4     “CONFIDENTIAL” Information or Items: information (regardless of how it is

generated, stored or maintained) or tangible things that qualify for protection under Federal Rule of

Civil Procedure 26(c), including but not limited to information that is comprised of trade secrets or

commercial information that is not publicly known and is of technical or commercial advantage to

its possessor, as well as other information required by law or agreement to be kept confidential.

This definition shall not encompass identification material for any and all Parties subject to the

Litigation; however, certain personal, private, and sensitive identification material may be deemed

confidential. For example, names of Parties may be disclosed, but certain information concerning

addresses, phone numbers, email addresses, or other similar information may be deemed
confidential and subject to the terms herein.

        2.5     Counsel (without qualifier): Outside Counsel of Record and In-House Counsel (as

well as their support staff).

        2.6     Designating Party: a Party or Non-Party that designates information or items that it

produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

        2.7     Litigation: The above captioned case - Garner v. Global Plasma Solutions, Inc.,

Case No. 21-cv-665-SB (D. Del.) - including all claims related therein and/or impacting all

referenced, identified, or represented Parties.

        2.8     Disclosure or Discovery Material: all items or information, regardless of the

medium or manner in which it is generated, stored, or maintained (including, among other things,

testimony, transcripts, and tangible things), that are produced or generated in disclosures or

responses to discovery in this matter.

        2.9     Expert: a person with specialized knowledge or experience in a matter pertinent to

the Litigation who has been retained by a Party or its counsel to serve as an expert witness or as a

consultant in this action.

        2.10    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

Items: Information (regardless of how it is generated, stored, or maintained) or tangible things

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that qualify for protection under Federal Rule of Civil Procedure 26(c) and which the Producing

Party claims in good faith is especially sensitive, which may include but is not limited to,

confidential research and development, financial, technical, marketing, and any other sensitive

trade secret information, or information capable of being utilized for the preparation or

prosecution of a patent application dealing with such subject matter, the disclosure of which to

persons other than those set forth in section 7.3 below, would create a substantial risk of serious

harm that could not be avoided by less restrictive means.

       2.11    In-House Counsel: attorneys who are employees, officers or directors of a party to

this action. In-House Counsel does not include Outside Counsel of Record or any other outside
counsel.

       2.12    Outside Counsel of Record: attorneys who are not employees, officers, or directors

of a party to this action but are retained to represent or advise a party to this action and have

appeared in this action on behalf of that party or are affiliated with a law firm which has appeared

on behalf of that party.

       2.13    Producing Party: a Party or Non-Party that produces Disclosure or Discovery

Material in this action.

       2.14    Professional Vendors: persons or entities that provide litigation support services

(e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,

storing, or retrieving data in any form or medium) and their employees and subcontractors.

       2.15    Protected Material: any Disclosure or Discovery Material that is designated as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

       2.16    Receiving Party: a Party that receives Disclosure or Discovery Material from a

Producing Party.

3.     SCOPE

       The protections conferred by this Stipulation and Order cover not only Protected Material

(as defined above), but also (1) any information copied or extracted from Protected Material; (2) all

copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony or

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presentations by Parties or their Counsel that might reveal Protected Material. However, the

protections conferred by this Stipulation and Order do not cover the following information: (a) any

information that is in the public domain at the time of disclosure to a Receiving Party or becomes

part of the public domain after its disclosure to a Receiving Party as a result of publication not

involving a violation of this Order, including becoming part of the public record through trial or

otherwise; and (b) any information known to the Receiving Party prior to the disclosure or obtained

by the Receiving Party after the disclosure from a source who obtained the information lawfully

and under no obligation of confidentiality to the Designating Party. Any use of Protected Material

at trial shall be governed by a separate agreement or order.

4.     DURATION

       Even after final disposition of this Litigation, the confidentiality obligations imposed by

this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

claims and defenses in this action, with or without prejudice; and (2) final judgment herein after the

completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,

including the time limits for filing any motions or applications for extension of time pursuant to

applicable law.

5.     DESIGNATING PROTECTED MATERIAL

       5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party or

Non-Party that designates information or items for protection under this Order must take care to

limit any such designation to specific material that qualifies under the appropriate standards. The

Designating Party must designate for protection only those parts of material, documents, items, or

oral or written communications that qualify – so that other portions of the material, documents,

items, or communications for which protection is not warranted are not swept unjustifiably within

the ambit of this Order.

       Mass, indiscriminate, or routinized designations are prohibited.

       If it comes to a Designating Party’s attention that information or items that it designated for

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protection do not qualify for protection, that Designating Party must promptly notify all other

Parties that it is withdrawing the mistaken designation.

       5.2     Manner and Timing of Designations. Except as otherwise provided in this Order

(see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced.

       Designation in conformity with this Order requires:

       (a) for information in documentary form (e.g., paper or electronic documents, but

excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

Party affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY” to each page that contains protected material. In the case of electronic files and

documents in native electronic format, a Party or Non-Party may designate such electronic files

and documents by appending to the file names or designators “Confidential” or “Highly

Confidential – Attorneys’ Eyes Only,” or by any other reasonable method for appropriately

designating such information produced in electronic format, including by making such

designations in reasonably accessible metadata associated with the files. When electronic files or

documents in native form are printed for use at deposition, in a court proceeding, or for provision

in printed form to any person described in sections 2.1, 2.2, 2.3, 2.6, 2.8, 2.9, 2.10, 2.11, 2.14, or

2.16, the party printing the electronic files or documents shall affix a legend to the printed

document saying “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

ONLY.”

       A Party or Non-Party that makes original documents or materials available for inspection

need not designate them for protection until after the inspecting Party has indicated which material

it would like copied and produced. During the inspection and before the designation, all of the

material made available for inspection shall be deemed “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the

documents it wants copied and produced, the Producing Party must determine which documents, or

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portions thereof, qualify for protection under this Order. Then, before producing the specified

documents, the Producing Party must affix the “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” legend to each page that contains Protected

Material.

             (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

Designating Party either identifies on the record, before the close of the deposition, hearing, or

other proceeding, or by letter between the attorneys within thirty (30) days of receipt of the

deposition transcript or copy thereof. The entire deposition transcript (including exhibits) shall be

treated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under this Order until the
expiration of the above-referenced thirty-day period for designation by letter. The following

legend shall be placed on the front of any deposition containing Protected Information:

“CONTAINS CONFIDENTIAL MATERIAL” or “CONTAINS HIGHLY CONFIDENTIAL

MATERIAL – ATTORNEYS’ EYES ONLY.”

             (c) for information produced in some form other than documentary and for any other

tangible items, that the Producing Party affix in a prominent place on the exterior of the container

or containers in which the information or item is stored the legend “CONFIDENTIAL” or

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” If only a portion or portions of the

information or item warrant protection, the Producing Party, to the extent practicable, shall identify

the protected portion(s).

       5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

designate qualified information or items does not, standing alone, waive the Designating Party’s

right to secure protection under this Order for such material. Upon timely correction of a

designation, the Receiving Party must make reasonable efforts to assure that the material is treated

in accordance with the provisions of this Order.

       5.4      Upward Designation of Information or Items Produced by Other Parties or Non-

Parties. Subject to the standards of paragraph 5.1, a Party may upward designate (i.e., change any

Disclosure or Discovery Material produced without a designation to a designation of

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“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

designate any Disclosure or Discovery Material produced as “CONFIDENTIAL” to a designation

of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) any Disclosure or Discovery

Material produced by any other Party or non-party, provided that said Disclosure or Discovery

Material contains the upward designating Party’s own trade secrets or other confidential research,

development, financial, personal, or commercially sensitive information, or otherwise is entitled to

protective treatment under Fed. R. Civ. P. 26(c).

       Upward designation shall be accomplished by providing written notice to all Receiving

Parties identifying (by Bates number or other individually identifiable information) the Disclosure
or Discovery Material to be re-designated within thirty (30) days of production by the Producing

Party. The Party seeking to designate Disclosure or Discovery Materials already produced must

provide, at its own expense, substitute Disclosure or Discovery material bearing the appropriate

confidentiality designation. Upon receipt of the substitute Disclosure or Discovery Material, each

Receiving Party must (a) return or destroy all copies of the undesignated or wrongly designated

Disclosure or Discovery Material and (b) confirm, in a letter to the Producing Party’s counsel, that

it has done so—except when the Disclosure or Discovery Material has already been submitted to

the Court, introduced at a hearing, or marked as an exhibit at a deposition. If Disclosure or

Discovery Material has been marked as an exhibit at a deposition before the substitute Disclosure

or Discovery Material is provided, each Receiving Party must note the appropriate confidentiality

designation on the exhibit in lieu of destroying the exhibit.

       Failure to upward designate within thirty (30) days of production, alone, will not prevent a

Party from obtaining the agreement of all Parties to upward designate certain Disclosure or

Discovery Material or from moving the Court for such relief. Any Party may object to the upward

designation of Disclosure or Discovery Material pursuant to the procedures set forth in paragraph 8

regarding challenging designations.

6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

       6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

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confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

burdens, or a significant disruption or delay of the Litigation, a Party does not waive its right to

challenge a confidentiality designation by electing not to mount a challenge promptly after the

original designation is disclosed.

       6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution process

by providing written notice of each designation it is challenging and describing the basis for each

challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

recite that the challenge to confidentiality is being made in accordance with this specific paragraph

of the Protective Order. The parties shall attempt to resolve each challenge in good faith and must

begin the process by conferring directly (in voice-to-voice dialogue including Delaware counsel in

accordance with Local Civil Rule 7.1.1; other forms of communication are not sufficient) within 14

days of the date of service of notice. In conferring, the Challenging Party must explain the basis for

its belief that the confidentiality designation was not proper and must give the Designating Party an

opportunity to review the designated material, to reconsider the circumstances, and, if no change in

designation is offered, to explain the basis for the chosen designation. A Challenging Party may

proceed to the next stage of the challenge process only if it has engaged in this meet and confer

process first or establishes that the Designating Party is unwilling to participate in the meet and

confer process in a timely manner.

       6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

intervention, the Challenging Party shall file and serve a motion to retain confidentiality in

conformance with Local Rule 7 and Local Rule 37.1 within 21 days of the initial notice of

challenge or within 14 days of the parties agreeing that the meet and confer process will not resolve

their dispute, whichever is later.

       The burden of persuasion in any such challenge proceeding shall be on the Designating

Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

unnecessary expenses and burdens on other parties) may expose the Challenging Party to sanctions.

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All parties shall continue to afford the material in question the level of protection to which it is

entitled under the Producing Party’s designation until the court rules on the challenge.

7.     ACCESS TO AND USE OF PROTECTED MATERIAL

       7.1      Basic Principles. A Receiving Party may use Protected Material that is disclosed or

produced by another Party or by a Non-Party in connection with this case only for prosecuting,

defending, or attempting to settle this Litigation. The Parties shall not use any Protected Material in

connection with other litigations, lawsuits, or matters, including but not limited to those litigations

where one of the Parties to this Litigation is a party. Protected Material may not, under any

circumstances, be used in the prosecution of patent applications, for patent licensing, or for any

other purpose relating to intellectual property. Such Protected Material may be disclosed only to

the categories of persons and under the conditions described in this Order. When the Litigation has

been terminated, a Receiving Party must comply with the provisions of section 13 below (FINAL

DISPOSITION).
       Protected Material must be stored and maintained by a Receiving Party at a location and in

a secure manner that ensures that access is limited to the persons authorized under this Order.

       7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

information or item designated “CONFIDENTIAL” only to:

             (a) the Receiving Party’s Outside Counsel of Record in this action, as well as

employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

information for this Litigation;

             (b) the officers, directors, and employees (including In-House Counsel) of the

Receiving Party to whom disclosure is reasonably necessary for this Litigation;

             (c) Experts (as defined in this Order) or consultants of the Receiving Party to whom

disclosure is reasonably necessary for this Litigation;

             (d) the court and its personnel;

             (e) court reporters and their staff, professional jury or trial consultants, mock jurors,

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and Professional Vendors to whom disclosure is reasonably necessary for this Litigation;

             (f) during their depositions, witnesses in the action to whom disclosure is reasonably

necessary. Pages of transcribed deposition testimony or exhibits to depositions that reveal

Protected Material must be separately bound by the court reporter and may not be disclosed to

anyone except as permitted under this Stipulated Protective Order.

             (g) the author or recipient of a document containing the information or a custodian or

other person who otherwise possessed or knew the information.

       7.3      Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
Information or Items. Unless otherwise ordered by the court or permitted in writing by the

Designating Party, a Receiving Party may disclose any information or item designated “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:

             (a) the Receiving Party’s Outside Counsel of Record in this action;

             (b) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

reasonably necessary for this Litigation and who have signed the “Acknowledgment and

Agreement to Be Bound” (Exhibit A);

             (c) the court and its personnel;

             (d) court reporters and their staff, professional jury or trial consultants, mock jurors,

and Professional Vendors to whom disclosure is reasonably necessary for this Litigation and who

have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

             (e) during their depositions, witnesses in the action to whom disclosure is reasonably

necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

unless otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed

deposition testimony or exhibits to depositions that reveal Protected Material must be separately

bound by the court reporter and may not be disclosed to anyone except as permitted under this

Stipulated Protective Order.

       (f) the author or recipient of a document containing the information or a custodian or

other person who otherwise possessed or knew the information.

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8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

       LITIGATION

       Other Proceedings. By entering this Order and limiting the disclosure of information in this

case, the Court does not intend to preclude another court from finding that information may be

relevant and subject to disclosure in another case. Any person or Party subject to this Order who

becomes subject to a motion to disclose another party’s information designated

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to

this Order shall promptly notify that Party of the motion so that the Party may have an opportunity

to appear and be heard on whether that information should be disclosed.

       If a Party is served with a subpoena or a court order issued in other litigation that compels

disclosure of any information or items designated in this action as “CONFIDENTIAL” or

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” that Party must:

           (a) promptly notify in writing the Designating Party. Such notification shall include a

copy of the subpoena or court order;

           (b) promptly notify in writing the party who caused the subpoena or order to issue in

the other litigation that some or all of the material covered by the subpoena or order is subject to

this Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and

           (c) cooperate with respect to all reasonable procedures sought to be pursued by the

Designating Party whose Protected Material may be affected.

       If the Designating Party timely seeks a protective order, the Party served with the subpoena

or court order shall not produce any information designated in this action as “CONFIDENTIAL” or

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a determination by the court

from which the subpoena or order issued, unless the Party has obtained the Designating Party’s

permission. The Designating Party shall bear the burden and expense of seeking protection in that

court of its confidential material – and nothing in these provisions should be construed as

authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from

another court.

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9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

       LITIGATION

           (a) The terms of this Order are applicable to information produced by a Non-Party in

this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY.” Such information produced by Non-Parties in connection with this

Litigation is protected by the remedies and relief provided by this Order. Nothing in these

provisions should be construed as prohibiting a Non-Party from seeking additional protections.

           (b) In the event that a Party is required, by a valid discovery request, to produce a Non-

Party’s confidential information in its possession, and the Party is subject to an agreement with the

Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

               (1) promptly notify in writing the Requesting Party and the Non-Party that some or

all of the information requested is subject to a confidentiality agreement with a Non-Party;

               (2) promptly provide the Non-Party with a copy of the Stipulated Protective Order

in this Litigation, the relevant discovery request(s), and a reasonably specific description of the

information requested; and

               (3) make the information requested available for inspection by the Non-Party.

           (c) If the Non-Party fails to object or seek a protective order from this court within 14

days of receiving the notice and accompanying information, the Receiving Party may produce the

Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely

seeks a protective order, the Receiving Party shall not produce any information in its possession or

control that is subject to the confidentiality agreement with the Non-Party before a determination

by the court. Absent a court order to the contrary, the Non-Party shall bear the burden and expense

of seeking protection in this court of its Protected Material.

10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Stipulated Protective

Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

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unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected

Material, (c) inform the person or persons to whom unauthorized disclosures were made of all the

terms of this Order, and (d) request such person or persons to execute the “Acknowledgment and

Agreement to Be Bound” that is attached hereto as Exhibit A.

11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

       MATERIAL

       This Stipulated Protective Order is entered, inter alia, pursuant to Rule 502(d) of the

Federal Rules of Evidence.

       If a Producing Party discloses information in connection with the Litigation that the

Producing Party thereafter claims to be privileged or protected by the attorney-client privilege or

attorney work product protection (“Disclosed Protected Information”), the disclosure of the

Disclosed Protected Information shall not constitute or be deemed a waiver or forfeiture of any

claim of privilege or work product protection that the Producing Party would otherwise be entitled

to assert with respect to the Disclosed Protected Information and its subject matter in this

proceeding or in any other federal or state proceeding.

       A Producing Party may assert such privilege in writing with respect to Disclosed Protected

Information. The Receiving Party must within seven (7) days of receipt of that writing, (i) return or

destroy all copies of the Disclosed Protected Information and (ii) provide a certification of counsel

that all of the Disclosed Protected Information has been returned or destroyed. Within seven (7)

days of receipt of the notification that the Disclosed Protected Information has been returned or

destroyed, the Producing Party must produce a privilege log with respect to the Disclosed Protected

Information.

       If the Receiving Party contests the claim of attorney-client privilege or work product

protection, the Parties shall proceed as set forth in section 6. If the Parties do not successfully

resolve the issue by meeting and conferring, the Receiving Party must seek to file the Disclosure

Motion under seal and must not assert as a ground for compelling disclosure the fact or

circumstances of the disclosure, and may not disclose, rely on, or refer to any of the Disclosed

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Protected Information until after the Court rules.

       The Parties may stipulate to extend the time periods set forth in this section.

       Disclosed Protected Information that is sought to be reclaimed by the parties to this case

pursuant to this Order shall not be used as grounds by any third party to argue that any waiver of

privilege or protection has occurred by virtue of any production in this case.

       The Producing Party retains the burden of establishing the privileged or protected nature of

the Disclosed Protected Information. Nothing in this section shall limit the right of any party to

petition the Court for an in-camera review of the Disclosed Protected Information.

       Nothing in this Order shall relieve counsel for any Receiving Party of any existing duty or

obligation, whether established by case law, rule of court, regulation or other source, to return, and

not to review, any privileged or work product materials without being requested by the Producing

Party to do so. Rather, in the event a Receiving Party becomes aware that it is in possession of

what appears to be privileged documents or materials, then counsel for the Receiving Party shall

immediately (i) cease any further review or use of that document or material and (ii) notify the

Producing Party of the apparent production of Disclosed Protected Information, requesting a

response from the Producing Party as to whether the documents or materials are, in fact, Disclosed

Protected Information. In the event the Producing Party confirms the documents or material are

Disclosed Protected Information, the Receiving Party shall (i) promptly return or destroy all copies

of the Disclosed Protected Information in its possession and (ii) take reasonable steps to retrieve all

copies of the Disclosed Protected Information distributed to other counsel or non-parties.

       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Stipulated Protective

Order, the Receiving Party must immediately (i) notify in writing the Designating Party of the

unauthorized disclosures, (ii) use its best efforts to retrieve all unauthorized copies of the Protected

Material, (iii) inform the person or persons to whom unauthorized disclosures were made of all the

terms of this Order, and (iv) request such person or persons to execute the “Acknowledgment and

Agreement to Be Bound” that is attached hereto as Exhibit A..

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12.    MISCELLANEOUS

       12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to

seek its modification by the court in the future.

       12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective Order

no Party waives any right it otherwise would have to object to disclosing or producing any

information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

Party waives any right to object on any ground to use in evidence of any of the material covered by

this Protective Order.
       12.3    Filing Protected Material. If Protected Information is to be filed with this Court in

connection with any proceeding in this Action, it shall be filed under seal pursuant to the

requirements of Local Rule 5.1.3 and the Court’s CM/ECF procedures. The filing party shall be

responsible for providing appropriately redacted copies of the filed document to the Court in

accordance with Paragraph (G)(1) of the United States District Court for the District of Delaware’s

Revised Administrative Procedures Governing Filing and Service by Electronic Means, Revised

May, 2019.

13.    FINAL DISPOSITION

       Within 60 days after the final disposition of this action, as defined in section 4, each

Receiving Party must return all Protected Material to the Producing Party or destroy such material.

As used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

summaries, and any other format reproducing or capturing any of the Protected Material. Whether

the Protected Material is returned or destroyed, the Receiving Party must submit a written

certification to the Producing Party (and, if not the same person or entity, to the Designating Party)

by the 60 day deadline that (1) identifies (by category, where appropriate) all the Protected

Material that was returned or destroyed and (2) affirms that the Receiving Party has not retained

any copies, abstracts, compilations, summaries or any other format reproducing or capturing any of

the Protected Material. Notwithstanding this provision, Counsel are entitled to retain an archival

copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

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correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant

and expert work product, even if such materials contain Protected Material. Any such archival

copies that contain or constitute Protected Material remain subject to this Protective Order as set

forth in section 4 (DURATION).



IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 Dated: May 5, 2022

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PURSUANT TO STIPULATION, IT IS SO ORDERED.



DATED: May 6, 2022                   ________________________
                                     United States Circuit Judge




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                                                                         643




                                              EXHIBIT A

                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       I, _____________________________ [print or type full name], of _________________

[print or type full address], declare under penalty of perjury that I have read in its entirety and

understand the Stipulated Protective Order that was issued by the United States District Court for

the District of Delaware on [date] in the case of Garner v. Global Plasma Solutions, Inc., Case No.

21-cv-665-SB. I agree to comply with and to be bound by all the terms of this Stipulated Protective

Order and I understand and acknowledge that failure to so comply could expose me to sanctions

and punishment in the nature of contempt. I solemnly promise that I will not disclose in any

manner any information or item that is subject to this Stipulated Protective Order to any person or

entity except in strict compliance with the provisions of this Order.

       I further agree to submit to the jurisdiction of the United States District Court for the

District of Delaware for the purpose of enforcing the terms of this Stipulated Protective Order,

even if such enforcement proceedings occur after termination of this action.



Date: ______________________________________

City and State where sworn and signed: _________________________________



Printed name: _______________________________



Signature: __________________________________




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